          Case 1:15-vv-00376-UNJ Document 31 Filed 01/29/16 Page 1 of 2




    In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                           No. 15-376V
                                      Filed: January 7, 2016

* * * * * * * * * * * * * * * *                            UNPUBLISHED
TEENA BOYKIN,                                 *
                                              *            Special Master Hamilton-Fieldman
             Petitioner,                      *
                                              *            Attorneys’ Fees and Costs;
v.                                            *            Reasonable Amount Requested to
                                              *            which Respondent Does Not Object.
SECRETARY OF HEALTH                           *
AND HUMAN SERVICES,                           *
                                              *
             Respondent.                      *
* * * * * * * * * * * * * * * *
John R. Howie, Jr., Howie Law, P.C., Dallas, TX, for Petitioner.
Gordon Shemin, United States Department of Justice, Washington, D.C., for Respondent.

                                           DECISION 1

        On April 14, 2015, Teena Boykin (“Petitioner”) filed a petition pursuant to the National
Vaccine Injury Compensation Program. 2 42 U.S.C. §§ 300aa-1 to -34 (2006). Petitioner alleged
that an influenza (“flu”) vaccination administered to her on October 4, 2012 caused her to suffer
from Guillain-Barré syndrome (“GBS”). On December 8, 2015, the undersigned issued a
decision awarding compensation to Petitioner.

      On January 7, 2016, the parties filed a Stipulation of Facts Concerning Attorneys’ Fees
and Costs. Pursuant to their Stipulation, the parties have agreed to an award of $25,093.58 in
1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this decision on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by
Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


                                                  1
          Case 1:15-vv-00376-UNJ Document 31 Filed 01/29/16 Page 2 of 2



attorneys’ fees and costs. In accordance with General Order Number 9, Petitioner’s counsel
represents that Petitioner has not incurred any out-of-pocket litigation costs in pursuit of her
claim.

        The undersigned finds that this petition was brought in good faith and that there existed a
reasonable basis for the claim. Therefore, an award for fees and costs is appropriate, pursuant to
42 U.S.C. § 300aa-15(b) and (e)(1). Further, the proposed amount seems reasonable and
appropriate. Accordingly, the undersigned hereby awards the amount of $25,093.58, in the
form of a check made payable jointly to Petitioner and Petitioner’s counsel, John Howie.

         In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation. 3

       IT IS SO ORDERED.

                                              s/ Lisa Hamilton-Fieldman
                                              Lisa Hamilton-Fieldman
                                              Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


                                                  2
